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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    CHRISTINA MARY REYNOLDS, on behalf
    of herself and all others similarly situated,       Civil Action No.: 2:19-CV-01935-JDW
                                   Plaintiff,

            v.

    TURNING POINT HOLDING
    COMPANY, LLC, et al.,
                                   Defendants.

    PLAINTIFF’S UNOPPOSED MOTION TO PRELIMINARILY APPROVE CLASS AND
    COLLECTIVE ACTION SETTLEMENT, CERTIFY THE RULE 23 CLASS AND THE
     FLSA COLLECTIVE, APPOINT CLASS COUNSEL, APPROVE PROPOSED CLASS
             NOTICE, AND SCHEDULE A FINAL APPROVAL HEARING

          Plaintiff Christina Mary Reynolds, together with named plaintiffs in the related Actions,1

Christina Nulph, and Rosemary Barba (collectively “Plaintiffs”), by their counsel, Lynch Carpenter,

LLP, and Connolly Wells & Gray, LLP (collectively, “Plaintiffs’ Counsel”), individually and on

behalf of the Settlement Class Members, respectfully move the Court for an order: (1) accepting

the proposed Amended Complaint previously filed on February 7, 2022 (ECF 124) as the operative

complaint in this Litigation 2; (2) certifying, for settlement purposes only, the proposed Rule 23

Class consisting of the PA Class and NJ Class members, pursuant to Fed. R. Civ. P. 23(b)(3); (3)

certifying, for settlement purposes only, the FLSA Collective; (4) appointing Plaintiffs as the class

and collective representatives and Plaintiffs’ Counsel as “Class Counsel”; (5) granting preliminary

approval of the proposed settlement set forth in the Settlement Agreement; (6) approving the form

and content of, and direct the distribution of, the proposed Class Notice; and (7) setting a date for

1
  All capitalized terms used in this Motion shall have the meanings ascribed to them in the
Settlement Agreement, attached as Exhibit 1 to the contemporaneously filed Declaration of Gerald
D. Wells, III.
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  As set forth in the accompanying Memorandum, the Amended Complaint is necessary in order
to bring all claims before this Honorable Court.


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a Final Approval Hearing between ninety and one hundred twenty days after entry of a Preliminary

Approval Order. 3

        In support of this Motion, Plaintiffs submit the following:

    •   Memorandum of Law;
    •   Declaration of Gerald D. Wells III and exhibits thereto;
    •   Declaration of Kirk Ruoff filed February 7, 2022 (ECF 123); and
    •   Declaration of Hon. Diane M. Welsh (Ret.).

                                                       Respectfully submitted,

    Dated: July 29, 2022                               /s/ Gerald D. Wells III
                                                       Gerald D. Wells, III
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                                                       Counsel for Plaintiffs and the Proposed
                                                       Classes




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  The Parties request that the hearing be scheduled at such time so as to permit the Parties sufficient
time to accomplish each of the requirements set forth in the Settlement Agreement.


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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 29th day of July, 2022, a true and

correct copy of the foregoing document was filed with the Court utilizing its ECF system, which

will send notice of such filing to all counsel of record.


                                                       /s/ Gerald D. Wells III
                                                       Gerald D. Wells, III




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